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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

      UNITED STATES OF AMERICA,

                     Plaintiff,

      v.                                             Case No. 8:05-cr-355-T-17MAP

      DANIEL HARRIS,

                     Defendant.
                                               /

                                               ORDER

                     The Defendant is before the court on a petition alleging violations of

      pretrial release conditions. By the allegations in the petition, the Defendant was arrested

      for driving under the influence of alcohol in Hillsborough County on February 23, 2006.

      That case is pending. Additionally, on the same date, the Defendant was found to be in

      violation of his previously imposed curfew. The Defendant has been offered the

      opportunity of a hearing pursuant to 18 U.S.C. § 3148 and waives such hearing. On the

      basis of matters set forth in the petition there is probable cause to believe that the

      Defendant has violated the law and clear evidence that he has breached the terms of his

      release. The court further finds that there are additional conditions of release that may

      satisfy its concerns about the Defendant’s conduct during the pretrial period. The

      original order of release is amended to additionally require that the Defendant shall be

      subject to electronic monitoring. He is again directed to seek employment, to continue

      schooling, and abide by the curfew established by Pretrial Services to accommodate his

      schedule. The Defendant will be afforded no further opportunities and should he breach

      his release status, he shall be detained pending further proceedings in this cause.
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                    Done and Ordered in Tampa, Florida, this 14th day of March 2006.




      Copies furnished to:
      Stephen Muldrow, Assistant United States Attorney
      Michael Maddux, Counsel for Defendant
      U.S. Pretrial




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